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                  IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF TENNESSEE
                                 AT MEMPHIS
______________________________________________________________________________

ERNEST SUTTLES,

        Plaintiff

v.                                                             Case No. 2:19-cv-02502-JTF-cgc
                                                               JURY TRIAL DEMANDED
UNIVERSITY OF MEMPHIS,
KENNETH P. ANDERSON, in his
Individual capacity, DR. DAVID RUDD,
In his individual capacity,

      Defendant
______________________________________________________________________________

 ERNEST SUTTLES’ RESPONSE IN OPPOSITION TO THE RENEWED MOTION TO
         DISMISS THE COMPLAINT BY THE UNIVERSITY OF MEMPHIS
______________________________________________________________________________

        COMES NOW THE PLAINTIFF, ERNEST SUTTLES, by and through undersigned

counsel of record, who moves this Court in response to the Motion to Dismiss the Amended

Complaint filed herein by the University of Memphis and would state as follows:

        The University of Memphis has filed a renewed Motion to Dismiss essentially re-stating

the same arguments it made in response to the original complaint. It claims that the 11 th

Amendment bars the prosecution of the breach of contract and the Section 1983 claims. It also

has argued in this motion that the statute of limitations bars the Title IX claims of the Plaintiff, as

they claim that the cause of action for the plaintiff accrued on or about October 15, 2017.

     1. The Motion to Dismiss the Section 1983 and Breach of Contract Claims against the
        University of Memphis should be denied, as there are no such claims in the Amended
        Complaint.

        The Plaintiff will address this issue in the Motion to Dismiss for the sake of clarity. The

Plaintiff has stated in the response to the original motion to dismiss that he did not offer a breach
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of contract claim against the University of Memphis, nor a section 1983 claim. This position was

confirmed by the filing of an Amended Complaint. Count II and Count III address the 1983 and

the breach of contract claims and neither state a claim against the University of Memphis. These

are explicitly addressed to the individual defendants, Kenneth P. Anderson and David Rudd. This

motion is erroneous in regard to this issue and should be denied as there is simply no factual basis

for it, nor any need to address these points. There is no claim under these counts against this

Defendant, the motion to dismiss on this basis should be denied.

   2. The Statute of Limitations Claims should be denied, as the Date of Final Adjudication is
      the date of accrual of such a claim as matter of law.
       The motion to dismiss attempts to dissect the Plaintiff’s lawsuit into separate and distinct

claims under Title IX and they are simply wrong. There is one claim, and there are several acts

which occurred creating the cause of action.

       The University of Memphis’ motion again argues the same discredited theory, that the

cause of action under Title IX accrues at some other date, other than the date of final adjudication.

They argue ( without legal support ) that the cause of action accrued on the date of the dismissal

from the football team (October 14, 2017), when the interim sanctions were imposed (October 17,

2017) or when the 60 day period for investigating complaints expired (December 15, 2017).

       However, the Plaintiff’s claim in this lawsuit is clearly an “erroneous outcome” claim as

stated in Paragraph 44 of the Complaint:

       44. The outcome of the Title IX process of the plaintiff was erroneous. The Plaintiff
       specifically avers that due to the failure of Kenneth Anderson, David Rudd and the
       University of Memphis to complete his investigation in good faith, there never was
       a hearing of the accusations leveled against him, which raises clear and articulable
       doubts the outcome of any part of the disciplinary proceeding against Ernest Suttles.
       Ernest Suttles was never given the opportunity to cross examine Jane Roe or test
       her version of events in any process resembling a hearing. He specifically avers that
       as the credibility of the accuser and her accusations was at stake, at a minimum the
       Defendants should have allowed him to cross examine his accuser and test the
       credibility. This did not occur. Due to the actions of Kenneth P. Anderson and the
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       University of Memphis, a doubt therefore exists as to the outcome for this basic
       procedural error alone. In addition, the failure to investigate this claim, by
       specifically ignoring witnesses available to the incident in question, i.e. Ernest
       Suttles’ witness, is a sufficient articulable doubt as to the basic fairness of the
       process to violate the requirements of Title IX.

As this is explicitly an “erroneous outcome” case, it is likewise undisputed that the date of accrual

of such a claim is the date of final adjudication. This was decided in the case of Roberson v.

Tennessee, 399 F.3d 792 (6th Cir. 2005).

       In Roberson, the 6th Circuit noted that a claim accrues on the date when the plaintiff knew,

or through reasonable diligence should have known, of an injury giving rise to his cause of action.

Collard v. Kentucky Bd. Of Nursing, 896 F.2d 179, 184 (6th Cir. 1990). "The statute of limitations

commences to run when the plaintiff knows or has reason to know of the injury which is the basis

of his action. A plaintiff has reason to know of his injury when he should have discovered it

through the exercise of reasonable diligence." Id. at 273 (citations omitted). Courts have taken a

common-sense approach to this task, inquiring as "to what event should have alerted the typical

lay person to protect his or her rights." Hughes, 215 F.3d at 548 (quoting Dixon v. Anderson, 928

F.2d 212, 215 (6th Cir.1991)). Roberson v. Tennessee 399 F.3d 792 (6th Cir. 2005) provides clear

guidance on exactly what would put a lay person on notice to protect his or her rights: a final

adjudication:

       “…The district court was correct in concluding that the typical lay person would
       have been alerted as to the need to protect his rights before May 22, 2002. While
       Roberson argues that the Student Promotions Committee had no authority to issue
       a final decision on his case, and therefore that he had not "exhausted his
       administrative remedies" until Dr. Stanton issued his letter, it is clear that a typical
       lay person would have recognized the need to take legal action considerably earlier
       in the process.

       Specifically, the district court determined the "summer of 2001" to be the
       latest date on which the limitations period could begin. It reasoned that the
       decisions of the Student Promotions Committee amounted to a final and
       formal dismissal from school, and that Roberson's efforts to informally
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      petition various officials about reinstatement demonstrate an awareness that
      any alleged infringement of his rights had already occurred.

      In response, Roberson seeks to downplay the involvement and authority of the
      Promotions Committee, arguing at length that the Committee can only
      "recommend" dismissal, and not order it. Roberson contends that Dr. Franks's letter
      of April 18, 2002, operated as an official acceptance of the Committee's
      "recommendation," and that Roberson was not put on notice of the need to protect
      his rights until Dr. Stanton "upheld" this acceptance. In support of these claims,
      Roberson cites several passages from the ETSU handbook in which the words
      "recommend" or "recommendation" are used in reference to the functioning of the
      Promotions Committee.

      Roberson's argument is misplaced. It was not necessary, as he argues, for a decision
      of the school administration to "conver[t] a mere dismissal recommendation into a
      concrete expulsion" for Roberson to be aware of the need to protect his rights.
      Roberson acknowledges that his leave of absence was involuntary, and alleges that
      he was denied his right to appeal the decision placing him on leave. Whether this
      decision was made by the Promotions Committee (of right or by usurpation) or by
      a school official adopting the Committee's "recommendation" is of no import 1. The
      fact remains that Roberson was aware of any alleged denial of his rights by the
      summer of 2001.

      While Roberson was undoubtedly wise to utilize the appellate process provided to
      him following the denial of his plea for reinstatement in 2002, it is clear that his
      allegations under § 1983 must include a discrete deprivation of rights finalized
      before this second process even began. As the Supreme Court explained in a
      similar (educational) setting, "[t]he grievance procedure, by its nature, is
      a remedy for a prior decision, not an opportunity to influence that decision before
      it is made." Delaware State Coll. v. Ricks, 449 U.S. 250, 261, 101 S.Ct. 498, 66
      L.Ed.2d 431 (1980)(emphasis in original). Cf. Morse v. Univ. of Vermont, 973 F.2d
      122, 125 (2nd Cir.1992)("The fact that UVM allowed appellant to continue to take
      courses and undertook an internal administrative review of its allegedly
      discriminatory decision has no effect on when the statute of limitations period
      begins to run."); Kessler v. Bd. of Regents, 738 F.2d 751, 754 (6th Cir.1984)(similar
      result in termination from employment context).

      The district court did not err in selecting "the summer of 2001" as the date for the
      relevant decision. It is clear from the record2, as well as from Roberson's own
      statements, that he was dismissed from the ETSU medical program in February of
      2001, and that the Student Promotions Committee denied him admission in August
      of 2001. Nor did the court err in construing Roberson's efforts following the
      execution of that decision (including "informal" petitions for reinstatement, as well
      as the letters to Dr. Franks and Dr. Stanton) as efforts at achieving a post
      hoc remedy.
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       A reasonable lay person would have acted to protect his rights following the August
       decision, at the very latest. Because Roberson did not file his complaint until May
       22, 2003, the district court correctly dismissed the action as untimely.

Roberson v. Tennessee, 399 F.3d 792 (6th Cir. 2005)(emphasis added).                This case is an

unwavering and simple statement as to the issue of the accrual of a Title IX cause of action: it is

and must be the date when Ernest Suttles had been subject to a final adjudication. And as the

Plaintiff has noted in this lawsuit, that never occurred. Kenneth Anderson promised for over

twenty months that a final adjudication would occur and that the Plaintiff would have a right to

appeal. This never happened. At no time was Ernest Suttles ever charged with a specific violation

of any Student Code of Conduct and no initial determination of a charge or decision was ever

rendered. No expulsion from school occurred. He was simply given a sanction they called

“interim” and then promised the final adjudication under Roberson. Therefore, without that date

of adjudication, there can be no claim at this juncture that the cause of action has accrued. The

motion to dismiss should be denied.

   3. Equitable Estoppel, not the Continuing Violations Doctrine, Should Toll the Running of
      the Statute of Limitations.

       Equitable estoppel should also bar the statute of limitations argument of the Defendant.

Tennessee courts have held that successful assertion of the doctrine of equitable estoppel or

equitable tolling requires that the plaintiff show that (1) the defendant knew or should have known

that its conduct would induce the Plaintiff to delay filing suit, (2) the plaintiff’s reliance on this

conduct was reasonable, and (3) the plaintiff’s delay was not unreasonable or due to lack of

diligence. Northeast Knox Utility District v. Stanfort Const. Co., 206 S.W.3d 454, 461 (Tenn. Ct.

App. 2006) (citing Hardcastle v. Harris, 170 S.W.3d 67, 85 (Tenn. Ct. App. 2004)). Where

equitable estoppel has been raised, a court must determine whether the defendant engaged in
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conduct specifically designed to prevent plaintiff from suing in time. Fahner v. SW Manufacturing,

Inc., 48 S.W.3d 141, 145 (Tenn. 2001).

        If there is any doubt as to the date of the accrual of the cause of action here, the issue of

equitable tolling should clearly resolve any questions about the timeliness of the filing of the

Plaintiff.   The Plaintiff alleges explicitly in the Amended Complaint, that the Defendants

undertook explicit and clear activities to induce him into believing that he would get a hearing and

the opportunity to resolve the claims against him and have the interim sanctions dropped.

        When the Defendant, Kenneth P. Anderson sent the October 14, 2017 letter to the Plaintiff,

he    sought    to   induce    him    into   believing    that   the    interim    restrictions   were

“pending the completion of their investigation”. However, this was false. Kenneth Anderson

made no attempt to finish his investigation, as was subsequently discovered over the course of

many months. Defendant Anderson produced no written findings and interviewed no witnesses

all while claiming that a report was forthcoming. These statements, promising due process, were

made to the Plaintiff and to the public, in order to induce the Plaintiff into believing that 1) he was

entitled to a hearing and that 2) he was entitled to an investigation. In fact, the University of

Memphis, Kenneth P. Anderson and David Rudd provided neither.

        Additionally, Defendant David Rudd’s public statement released to the press cited in the

Amended Complaint in paragraph 30 was also designed to give the illusion of due process. He

made false statements that there would be an investigation and a finding but there was not. This

also was designed to deceive the Plaintiff AND the public into believing that there would be a fair

process. This was fundamentally false. Also, in paragraph 25 of the Complaint, it states that the

Plaintiff was prevented from filing suit for twenty months, due to being misled by the Defendants

in direct statements to him and in these press statements. Paragraph 77 of the Amended Complaint
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states that the interim restrictions became permanent on the date of the Plaintiff’s graduation. It

also states that because he believed that he would receive due process and that the Defendants

never retracted these false statements, he was misled up to the date of filing suit. None of these

acts suggest a lack of diligence on the part of the Plaintiff. They demonstrate only a string of false

promises by the Defendants and the reasonable reliance of the Plaintiff on the idea of due process.

     None of these statements on the face of the complaint support the idea that the date the

Plaintiff’s cause of action accrued was the date his scholarship or aid was cut off, October 2017.

This argument defies logic and ignores the willful acts committed by the Defendants and

specifically pled in the Amended Complaint.

                                          CONCLUSION

       The Plaintiff has demonstrated that the various claims made by the University of Memphis

to bar this lawsuit are without merit and should not form the basis for the dismissal of the Amended

Complaint. As noted earlier, there is no Section 1983 or Breach of Contract Claim against the

University of Memphis to dismiss. Secondly, as the accrual of the cause of action of the Plaintiff’s

Title IX claim is based upon erroneous outcome, the date of final adjudication is the date the claim

accrues. There has been no final adjudication in fact, nor has one been pled in the Amended

Complaint. Therefore, the Motion to Dismiss in this regard should be denied. Finally, the Plaintiff

has explicitly demonstrated in the Amended Complaint that Equitable Tolling applies to this statute

of limitations argument, most notably due to the false statements made by the Defendants as to the

“due process” and appeal rights the Plaintiff was supposed to receive which ultimately he did not

get. Therefore, even if the cause of action accrued, the statute of limitations should be tolled on

this basis. The Plaintiff respectfully requests that the Motion to Dismiss by the University of

Memphis be denied.
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                                              RESPECTFULLY SUBMITTED,

                                              JOHNSON & JOHNSON, P.L.L.C.

                                              A Professional Limited Liability Company


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                                CERTIFICATE OF SERVICE

       I hereby certify that I have this 2nd day of December, 2019, served all parties in this

matter with the foregoing pleading by CM/MECF and by sending a copy of the foregoing via

U.S. mail, First Class postage prepaid to the following:

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